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                         IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

                                             )
JOHN GIDDIENS,                               )
on behalf of himself and all others          )
similarly situated                           )   C.A. No. 13-cv-7115-LDD
                                             )
                      Plaintiff,             )
v.                                           )
                                             )   CLASS ACTION
INFINITY STAFFING SOLUTIONS and              )
LYNEER STAFFING SOLUTIONS                    )
                                             )
                      Defendant.             )
                                             )

                                          ORDER


       AND NOW, this 11th day of January, 2016, upon consideration of Plaintiff’s Motion for

Award of Attorneys’ Fees and Reimbursement of Expenses (Doc. No. 34), it is HEREBY

ORDERED that Class Counsel is awarded fees in the amount of $272,716.87 and costs in the

amount of $3,673.13 Defendant shall pay such sums in accordance with the terms of the

Settlement Agreement.



                                                 BY THE COURT:

                                                 /s/ Legrome D. Davis

                                                 Legrome D. Davis, J.
